Case 1:22-cv-00482-CBA-RLM Document 19 Filed 11/22/22 Page 1 of 1 PageID #: 181




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

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                                                                 :
STRIKE 3 HOLDINGS, LLC,                                          :
                                                                 :    Case No. 1:22-cv-00482-CBA-RLM
                                      Plaintiff,                 :
                                                                 :
                             vs.                                 :
                                                                 :
JOHN DOE subscriber assigned IP address                          :
24.46.250.90,                                                    :
                                                                 :
                                      Defendant.                 :
-----------------------------------------------------------------X

                                         AFFIDAVIT OF SERVICE

          JOHN C. ATKIN, hereby certifies as follows:

          1.       I hereby certify that on the below date, I caused a copy of the unredacted return of

 service (D.E. 18), along with an additional copy of the Court’s November 14, 2022 Text Order

 (which has been personally served on Defendant, previously), and this affidavit of service, to be

 served upon pro se Defendant (identified by name and address in D.E. 13 at ¶ 12), via First Class

 Mail and Certified Mail.

          2.       I certify that the foregoing statements made by me are true and correct. I am

 aware that if any of the foregoing statements are willfully false, I may be subject to punishment.


 Dated: November 22, 2022                                      Respectfully submitted,

                                                               By: /s/ John C. Atkin
                                                               John C. Atkin, Esq.
                                                               JAtkin@atkinfirm.com
                                                               400 Rella Boulevard, Suite 165
                                                               Suffern, NY 10901
                                                               Tel.: (973) 314-8010/ Fax: (833) 693-1201
                                                               Attorneys for Plaintiff



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